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                         EXHIBIT L
               TO
     PLAINTIFFS’ RESPONSE TO
     DEFENDANTS’ MOTION FOR
       SUMMARY JUDGMENT
Case No. 1:22-cv-00581-CNS-NRN               Document 72-12          filed 12/23/22     USDC Colorado
                                               pg 2 of 2




 Apr 13, 2021

 DataJeff

 DataJeff, Analytics Lead

 VOTER VERIFICATION.pptx

 72.2 KB Download

 File…

 Apr 13, 2021

 DataJeff

 DataJeff, Analytics Lead

 I anonymized the assignment list

 File…

 Apr 13, 2021

 Shawn

 Shawn, Some Guy.

 LOL. I already did that.

 File…

 Apr 17, 2021




 Holly Holly        Shawn Shawn Holly asked        to share the voter verification information in the
 Boulder County GOP meeting this morning. I spoke to these slides that Shawn created and I believe we
 have something like 30 volunteers for the knocking on doors project.



     has the list to return to Holly. Do you want me to train and organize these volunteers or is there
 someone else to pick up that thread for Boulder County?

 File…

 Apr 17, 2021

 Holly

 Holly, ADMIN - Core Team - Summit Co

 Hi
                                                                                                   Exhibit
                                                                                                     501
